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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                               )
                                                        )
                       Plaintiff,                       )
                                                        )       4:06CR3102
       vs.                                              )
                                                        )       PRELIMINARY ORDER
ANDRANETTE FOSTER,                                      )       OF FORFEITURE
LATHON WIDER, SR.,                                      )
                                                        )
                       Defendants.                      )



       NOW ON THIS 24th day of August, 2007, this matter comes on before the Court upon the

United States' Motion for Issuance of Preliminary Order of Forfeiture and Memorandum Brief. The

Court reviews the record in this case and, being duly advised in the premises, finds as follows:

       1. The Defendants have entered into Plea Agreements, whereby they have agreed to plead

guilty to Counts I and II of said Superceding Indictment. Count I of said Superceding Indictment

charges the Defendants with possessing with intent to distribute marijuana, a violation of 21 U.S.C.

§§ 841(a)(1) and 841(b)(1). Count II of said Superceding Indictment charges the Defendants with

using $20,706.00 in United States currency to facilitate the commission of the controlled substance

violation and charges said personal property is derived from proceeds obtained directly or indirectly

as a result of the commission of the controlled substance violation.

       2. By virtue of said plea of guilty, the Defendants forfeit their interest in the subject property,

and the United States should be entitled to possession of said property, pursuant to 21 U.S.C., § 853.

       3. The United States' Motion for Issuance of Preliminary Order of Forfeiture should be

sustained.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED as follows:
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        A. The United States' Motion for Issuance of Preliminary Order of Forfeiture is hereby

sustained.

        B. Based upon Count II of the Superceding Indictment and the Defendants’ pleas of guilty,

the United States Marshal for the District of Nebraska ("Marshal") is hereby authorized to seize the

$20,706.00 in United States currency.

        C. The Defendants’ interest in said property is hereby forfeited to the United States of

America for disposition in accordance with the law, subject to the provisions of 21 U.S.C.,

§ 853(n)(1).

        D. The aforementioned forfeited property is to be held by the Marshal in his secure custody

and control.

        E. Pursuant to 21 U.S.C., § 853(n)(1), the Marshal forthwith shall publish at least once for

three successive weeks in a newspaper of general circulation, in the county where the subject

property is situated, notice of this Order, notice of the Marshal's intent to dispose of the property in

such manner as the Attorney General may direct, and notice that any person, other than the

Defendants, having or claiming a legal interest in any of the subject forfeited property must file a

Petition with the court within thirty (30) days of the final publication of notice or of receipt of actual

notice, whichever is earlier.

        F. Said published notice shall state the Petition referred to in Paragraph E., above, shall be

for a hearing to adjudicate the validity of the Petitioner's alleged interest in the property, shall be

signed by the Petitioner under penalty of perjury, and shall set forth the nature and extent of the

Petitioner's right, title or interest in the subject property and any additional facts supporting the

Petitioner's claim and the relief sought.


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       G. The United States may also, to the extent practicable, provide direct written notice to any

person known to have alleged an interest in the property subject to this Order as a substitute for

published notice as to those persons so notified.

       H. Upon adjudication of all third-party interests, this Court will enter a Final Order of

Forfeiture pursuant to 21 U.S.C., § 853(n), in which all interests will be addressed.

       ORDERED this 24th day of August, 2007.


                                                        BY THE COURT:

                                                        s/ RICHARD G. KOPF
                                                        United States District Judge




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